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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSE]QS JUL lb PH le 39

WESTERN DIVISION
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UNITED STATES OF AMERICA, ) 33@#“ ,-’,`{€MPH]S
)
Plaintijj§ )
)

vs. ) Case No. 2:05-cr-20205- l -MI

)
CHRIS NEWTON and )
CHARLES LOVE, )
)
Defendams. )

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

This cause came before the Court on motion ofThomas Greenholtz for permission to
be specially admitted to participate as co-counsel for Defendant Chris Newton in the above
styled case. Accordingly, for good cause shown, it is hereby ORDERED that such motion
be GRANTED.

lt is also ORDERED that counsel keep the Clerk’s office informed of his current
address and telephone number.

lt is also ORDERED that any failure to comply with local rules, failure to keep the
clerk advised of a current address and telephone number, failure to attend scheduled
conferences, healings and other proceedings, or any misconduct shall be grounds for

rescinding this order of special admission.

ENTER.

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JOI;I HIPPS MCCALLA
TED STATES DISTRIC'I` COURT JUDGE

 

 

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Wlth Hu|e 55 and/or 32( (b) FRCrP on

 

 

 

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PREPARED AND APPROVED FOR ENTRY BY:

SHUMACKER WITT GAITHER
& WHITAKER, P.C.

By:

 

Thomas oreenholtz,“re/nn. BPR N@. 020105
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736 Market Street

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(423) 425-7000

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of this pleading has been served
upon counsel for all parties at interest in this case by placing a true and exact copy of this
pleading in the United States Mail, addressed to the following counsel at his or her office
and with sufiicient postage thereon to carry the same to its destination:

Timothy R. DiScenza Bryan H. Hoss

Assistant United States Attorney Davis & Hoss

167 N. Main Street, Suite 800 508 East 5th St.

Clifford Davis F ederal Building Chattanooga, Tennessee 37403
Mernphis, Tennessee 38103

Thisthe 5‘“ day ofJuly,zoos.

SHUMACKER WITT GAITHER &
WHITAKER, P.C.

By: % W

 

 

 

   

UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CR-20205 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

 

Thomas Greenholtz

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Honorable .1 on McCalla
US DISTRICT COURT

